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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


 ESTATE OF ROBERT P. HARTWICK, et
 al.,
         Plaintiffs,                                Civil Action No. 18-1612 (CKK)
      v.
 ISLAMIC REPUBLIC OF IRAN, et al.,
         Defendants.
                                       ORDER
                                     (May 11, 2022)
   Upon consideration of Plaintiffs’ [71] Motion for Leave to Conduct Third Party

Discovery, and in light of the default by all Defendants - Islamic Republic of Iran, Islamic

Revolutionary Guard Corps, Iranian Ministry of Intelligence & Security, Bank Markazi

Jomhouri Islami Iran, Bank Mulli Iran, and National Iranian Oil Company, and pursuant to

Federal Rules of Civil Procedure 26, 30, and 45, it is this 11th day of May 2022, hereby

   ORDERED that Plaintiffs’ [71] Motion for Leave to Conduct Third Party Discovery is

GRANTED.

                                      ____________/s/_________________
                                      COLLEEN KOLLAR-KOTELLY
                                      UNITED STATES DISTRICT JUDGE
